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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

  GREG GIVENS
  Plaintiff,
                                                    CASE NO.:
  -VS-

  ALLY FINANICAL INC.
  Defendant.
                                       /

                                       COMPLAINT

         COMES NOW Plaintiff, Greg Givens, by and through the undersigned counsel,

  and sues Defendant, ALLY FINANCIAL INC., and in support thereof respectfully

  alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.

  (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq.

  (“FCCPA”).

                                     INTRODUCTION

         1.      The TCPA was enacted to prevent companies like ALLY FINANCIAL

  INC. from invading American citizen’s privacy and prevent abusive “robo-calls.”

         2.      “The TCPA is designed to protect individual consumers from receiving

  intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132

  S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

         3.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

  *1256 scourge of modern civilization, they wake us up in the morning; they interrupt our

  dinner at night; they force the sick and elderly out of bed; they hound us until we want to

  rip the telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings


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  presumably intended to give telephone subscribers another option: telling the autodialers

  to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir.

  2014).

           4.     According    to   the   Federal   Communications     Commission     (FCC),

  “Unwanted calls and texts are the number one complaint to the FCC. There are thousands

  of complaints to the FCC every month on both telemarketing and robocalls. The FCC

  received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal

  to Protect and Empower Consumers Against Unwanted Robocalls, Texts to Wireless

  Phones,       Federal     Communications          Commission,      (May      27,     2015),

  http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-

  333676A1.pdf.

                               JURISDICTION AND VENUE


           5.     This is an action for damages exceeding Seventy Five Thousand Dollars

  ($75,000.00) exclusive of attorney fees and costs.

           6.     Jurisdiction and venue for purposes of this action are appropriate and

  conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

  violations of the TCPA.

           7.     Subject matter jurisdiction, federal question jurisdiction, for purposes of

  this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

  district courts shall have original jurisdiction of all civil actions arising under the

  Constitution, laws, or treaties of the United States; and this action involves violations of




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  47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

  and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014)

          8.      The alleged violations described herein occurred in Pinellas County,

  Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2)

  as it is the judicial district in which a substantial part of the events or omissions giving

  rise to this action occurred.

                                  FACTUAL ALLEGATIONS

          9.      Plaintiff is a natural person, and citizen of the State of Florida, residing in

  Pinellas County, Florida

          10.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

          11.     Plaintiff is an “alleged debtor.”

          12.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

  F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

  Cir. 2014).

          13.     Defendant, ALLY FINANCIAL INC., is a corporation with its principal

  place of business located at 200 Renaissance Center, Detroit, Michigan 48265 and which

  conducts business in the State of Florida through its registered agent, CT Corporation

  System, located at 1200 South Pine Island Road, Plantation, Florida 33324.

          14.     The debt that is the subject matter of this Complaint is a “consumer debt”

  as defined by Florida Statute §559.55(6).

          15.     ALLY FINANCIAL INC. is a “creditor” as defined in Florida Statute

  §559.55(5)



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          16.    Plaintiff is the subscriber, regular user and carrier of the cellular telephone

  number (727) ***-3297 and was the called party and recipient of Defendant’s calls.

          17.    Beginning on or about January 2016, ALLY FINANCIAL INC. began

  bombarding Plaintiff’s cellular telephone (727) ***-3297 in an attempt to collect on a car

  loan.

          18.    ALLY FINANCIAL INC. attempted to collect an alleged debt from

  Plaintiff by this campaign of telephone calls.

          19.    Upon information and belief, some or all of the calls the Defendant made

  to Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

  system” which has the capacity to store or produce telephone numbers to be called, using

  a random or sequential number generator (including but not limited to a predictive dialer)

  or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

  227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that he knew it was an

  autodialer because of the vast number of calls he received and because he heard a pause

  when he answered his phone before a voice came on the line from ALLY FINANCIAL

  INC.

          20.    The autodialer calls from Defendant came from telephone numbers

  including but not limited to (888) 235-9513, and when that number is called a pre-

  recorded voice or agent answers and identifies the number as belonging to ALLY

  FINANCIAL INC.

          21.    In or around January 2016, Plaintiff revoked his consent to be called by

  ALLY FINANCIAL INC. by requesting that the calls stop. Specifically, the Plaintiff



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  spoke with agents of Defendant and requested that Defendant “do not call me unless

  payment actually late.” Each call ALLY FINANCIAL INC. made to the Plaintiff’s cell

  phone after said revocation was done so without the “express permission” of the Plaintiff

  and in violation of the TCPA.

          22.     Despite Plaintiff informing Defendant to stop calling, the Defendant’s

  autodialer calls to Plaintiff’s cellular phone continued after January 2016. Between

  December 10, 2015 and June 4, 2016, Plaintiff made a non-exclusive log of calls he/she

  received from the Defendant, including but not limited to the following calls: February

  13, 2016 (x2), March 9, 2016 (x2), March 14, 2016 (x2), April 15, 2016 (x2), June 1,

  2016 (x3), and June 4, 2016 (x6).

          23.     Defendant knowingly and/or willfully harassed and abused Plaintiff on

  numerous occasions by calling Plaintiff’s cellular telephone number up to six (6) times a

  day from approximately January 2016 through the filing of this complaint, with such

  frequency as can reasonably be expected to harass, all in an effort related to the collection

  of the subject account.

          24.     Plaintiff estimates approximately One Hundred Ten (110) calls to his cell

  phone post-revocation.

          25.     ALLY FINANCIAL INC. has a corporate policy to use an automatic

  telephone dialing system or a pre-recorded or artificial voice to individuals just as it did

  to Plaintiff’s cellular telephone in this case.

          26.     ALLY FINANCIAL INC. has a corporate policy to use an automatic

  telephone dialing system or a pre-recorded or artificial voice just as it did to Plaintiff’s



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  cellular telephone in this case, with no way for the consumer, Plaintiff, or ALLY

  FINANCIAL INC., to remove the number.

          27.      ALLY FINANCIAL INC.’s corporate policy is structured so as to

  continue to call individuals like Plaintiff, despite these individuals explaining to ALLY

  FINANCIAL INC. they wish for the calls to stop.

          28.      ALLY FINANCIAL INC. has numerous other federal lawsuits pending

  against it alleging similar violations as stated in this Complaint.

          29.      ALLY FINANCIAL INC. has numerous complaints across the country

  against it asserting that its automatic telephone dialing system continues to call despite

  requested to stop.

          30.      ALLY FINANCIAL INC. has had numerous complaints from consumers

  across the country against it asking to not be called; however, Defendant continues to call

  the consumers.

          31.      ALLY FINANCIAL INC.’s corporate policy provided no means for

  Plaintiff to have his number removed from Defendant’s call list.

          32.      ALLY FINANCIAL INC. has a corporate policy to harass and abuse

  individuals despite actual knowledge the called parties do not wish to be called.

          33.      Not a single call placed by ALLY FINANCIAL INC. to Plaintiff were

  placed for “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

          34.      ALLY FINANCIAL INC. willfully and/or knowingly violated the TCPA

  with respect to Plaintiff.




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         35.     From each and every call placed without consent by ALLY FINANCIAL

  INC. to Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the

  intrusion upon his right of seclusion.

         36.     From each and every call without express consent placed by ALLY

  FINANCIAL INC. to Plaintiff’s cell phone, Plaintiff suffered the injury of occupation of

  his cellular telephone line and cellular phone by unwelcome calls, making the phone

  unavailable for legitimate callers or outgoing calls while the phone was ringing from

  ALLY FINANCIAL INC.’s calls.

         37.     From each and every call placed without express consent by ALLY

  FINANCIAL INC. to Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary

  expenditure of his time. For calls he answered, the time he spent on the call was

  unnecessary as he repeatedly asked for the calls to stop. Even for unanswered calls,

  Plaintiff had to waste time to unlock the phone and deal with missed call notifications

  and call logs that reflected the unwanted calls. This also impaired the usefulness of these

  features of Plaintiff’s cellular phone, which are designed to inform the user of important

  missed communications.

         38.     Each and every call placed without express consent by ALLY

  FINANCIAL INC. to Plaintiff’s cell phone was an injury in the form of a nuisance and

  annoyance to Plaintiff. For calls that were answered, Plaintiff had to go to the

  unnecessary trouble of answering them. Even for unanswered calls, Plaintiff had to waste

  time to unlock the phone and deal with missed call notifications and call logs that

  reflected the unwanted calls. This also impaired the usefulness of these features of



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  Plaintiff’s cellular phone, which are designed to inform the user of important missed

  communications.

         39.     Each and every call placed without express consent by ALLY

  FINANCIAL INC. to Plaintiff’s cell phone resulted in the injury of unnecessary

  expenditure of Plaintiff’s cell phone’s battery power.

         40.     Each and every call placed without express consent by ALLY

  FINANCIAL INC. to Plaintiff’s cell phone where a voice message was left which

  occupied space in Plaintiff’s phone or network.

         41.     Each and every call placed without express consent by ALLY

  FINANCIAL INC. to Plaintiff’s cell phone resulted in the injury of a trespass to

  Plaintiff’s chattel, namely his cellular phone and his cellular phone services.

         42.     As a result of the answered and unanswered calls described above,

  Plaintiff suffered an invasion of privacy. Plaintiff was also affected in a personal and

  individualized way by stress, anxiety, nervousness, embarrassment, distress, and

  aggravation. Due to both answered and unanswered calls, Plaintiff suffered the

  expenditure of Plaintiff’s time, exhaustion of Plaintiff’s cellular telephone battery,

  unavailability of Plaintiff’s cellular telephone while ringing, waste of Plaintiff’s time,

  causing the risk of personal injury due to distraction, and trespass upon Plaintiff’s

  chattels. All of the abovementioned were caused by, and/or directly related to,

  Defendant’s attempts to collect a debt from Plaintiff through the use of

  automated/predictive dialing technology.




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                                           COUNT I
                                    (Violation of the TCPA)

          43.     Plaintiff fully incorporates and realleges paragraphs one (1) through forty-

  two (42) as if fully set forth herein.

          44.     ALLY FINANCIAL INC. willfully violated the TCPA with respect to

  Plaintiff, especially for each of the auto-dialer calls made to Plaintiff’s cellular telephone

  after Plaintiff notified ALLY FINANCIAL INC. that he wished for the calls to stop.

          45.     ALLY FINANCIAL INC. repeatedly placed non-emergency telephone

  calls to Plaintiff’s cellular telephone using an automatic telephone dialing system or

  prerecorded or artificial voice without Plaintiff’s prior express consent in violation of

  federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

          WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

  triable and judgment against ALLY FINANCIAL INC. for statutory damages, punitive

  damages, actual damages, treble damages, enjoinder from further violations of these parts

  and any other such relief the court may deem just and proper.

                                           COUNT II
                                   (Violation of the FCCPA)

          46.     Plaintiff fully incorporates and realleges paragraphs one (1) through forty-

  two (42) as if fully set forth herein.

          47.     At all times relevant to this action ALLY FINANCIAL INC. is subject to

  and must abide by the laws of the State of Florida, including Florida Statute § 559.72.




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          48.     ALLY FINANCIAL INC. has violated Florida Statute § 559.72(7) by

   willfully communicating with the debtor or any member of his or her family with such

   frequency as can reasonably be expected to harass the debtor or his or her family.

          49.     ALLY FINANCIAL INC. has violated Florida Statute § 559.72(7) by

   willfully engaging in other conduct which can reasonably be expected to abuse or harass

   the debtor or any member of his or her family.

          50.     ALLY FINANCIAL INC.’s actions have directly and proximately resulted

   in Plaintiff’s prior and continuous sustaining of damages as described by Florida Statute

   § 559.77.

          WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

   triable and judgment against ALLY FINANCIAL INC. for statutory damages, punitive

   damages, actual damages, costs, interest, attorney fees, enjoinder from further violations

   of these parts and any other such relief the court may deem just and proper.

                                                Respectfully submitted,


                                                    /s/Frank H. Kerney, III, Esquire
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